         Case: 23-1217    Document: 12    Page: 1   Filed: 12/28/2022




UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                   __________________

                               No. 2023-1217
                            __________________

                    US SYNTHETIC CORPORATION,
                            Appellant, v.

               INTERNATIONAL TRADE COMMISSION,
                            Appellee.
                       __________________

Appeal from the United States International Trade Commission Investigation No.
                                 337-TA-1236

                            __________________

       UNOPPOSED MOTION FOR LEAVE TO INTERVENE BY
          INTERNATIONAL DIAMOND SERVICES, INC.
                    __________________



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                                          Services, Inc.

December 28, 2022
           Case: 23-1217      Document: 12       Page: 2   Filed: 12/28/2022




I.    INTRODUCTION

      Pursuant to Rule 15(d) of the Federal Rules of Appellate Procedure,

International Diamond Services, Inc. (“IDS”) respectively moves for leave to

intervene in this appeal in support of the appellee, the United States International

Trade Commission (“ITC” or “Commission”). IDS should be permitted to intervene

because it was a party before the Commission in Investigation No. 337-TA-1236,

which is the subject of the appeal.

      Pursuant to Federal Circuit Rule 27(a)(2), IDS discussed this motion with

counsel for the Commission and counsel for US Synthetic Corporation. Each

indicated that it does not oppose this motion.

II.   BACKGROUND

      The ITC instituted Investigation No. 337-TA-1236, Certain Polycrystalline

Diamond Compacts, and Articles Containing Same, on December 22, 2020, based

on a Complaint filed by US Synthetic Corporation (“US Synthetic”). 85 Fed. Reg.

68,366-68,367. The Complaint alleged infringement of U.S. Patent Nos. 9,932,274

(“the ‘274 patent”), 10,508,502 (“the ‘502 patent”), 9,315,881 (“the ‘881 patent”),

10,507,565 (“the ‘565 patent”) and 8,616,306 (“the ‘306 patent”).

      On October 3, 2022, the presiding Administrative Law Judge (“ALJ”) issued

the Commission Opinion, finding that no violation of Section 337 has occurred.

Specifically, it asserted that claims 1, 2, 4, 6 and 18 of the ‘565 patent and claims 1,


                                           2
           Case: 23-1217     Document: 12     Page: 3    Filed: 12/28/2022




2, 11, 15 and 21 of the ‘502 patent were invalid. US Synthetic filed a petition for

review on November 28, 2022.

III.   ARGUMENT

       Respondents in ITC proceedings are “entitled to participate in [the] appeal.”

See Surface Tech., Inc. v. Int’l Trade Comm’n, 780 F.2d 29, 31 (Fed. Cir. 1985)

(permitting the prevailing respondents to intervene in the appeal and “raise any claim

in support of the ITC’s determination of no violation.”). Respondents are parties

before the ITC and have a substantial interest in this appeal.

       In its petition for review, US Synthetic challenges the ITC’s Notice of a

Commission Determination to Review in Part a Final Initial Determination Finding

No Violation of Section 337; Schedule for Filing Written Submissions on Issues

Under Review and on Remedy, Public Interest, and Bonding; Extension of Target

Date issued in Investigation No. 337-TA-1236, and all underlying orders, judgments,

rulings, and determinations rendered by the Commission and fairly merged into the

determination or issued pursuant thereto. In addition to the challenges identified by

US Synthetic in its petition, the timing of its petition raises questions as to this

Court’s jurisdiction to address any merits issues in this appeal. Each of these issues

makes IDS’ interests compelling, and those interests will be directly affected by the

outcome of this appeal. As a result, IDS should be permitted to participate in the

consideration of those issues by the Court.


                                          3
           Case: 23-1217     Document: 12       Page: 4   Filed: 12/28/2022




      Moreover, IDS’ participation in this appeal will ensure full evaluation of the

relevant legal and factual issues, which will aid the Court in resolving this case. As

a respondent in the Investigation before the Commission, IDS is uniquely situated

to address the arguments on appeal, to support the Commission in defending its

determinations identified in US Synthetic’s petition for review, and to otherwise

assist the Court by briefing and arguing the issues on appeal from IDS’ perspective.

No other party in this appeal will adequately represent IDS’ interests.

IV.   CONCLUSION

      For these reasons, IDS respectfully requests that the Court grant its unopposed

motion for leave to intervene in this appeal.



Dated: December 28, 2022                        Respectfully submitted,

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                                          4
               Case: 23-1217        Document: 12    Page: 5   Filed: 12/28/2022



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-1217
   Short Case Caption US Synthetic Corporation v. ITC
   Filing Party/Entity International Diamond Services, Inc.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        12/28/2022                                        /s/ Adam R. Hess
  Date: _________________                   Signature:

                                            Name:         Adam R. Hess
               Case: 23-1217       Document: 12      Page: 6      Filed: 12/28/2022



FORM 9. Certificate of Interest                                                       Form 9 (p. 2)
                                                                                         July 2020


     1. Represented                    2. Real Party in            3. Parent Corporations
         Entities.                         Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).          Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of         Provide the full names of       Provide the full names of
 all entities represented          all real parties in interest    all parent corporations
 by undersigned counsel in         for the entities. Do not        for the entities and all
 this case.                        list the real parties if        publicly held companies
                                   they are the same as the        that own 10% or more
                                   entities.                       stock in the entities.

                                   ✔ None/Not Applicable
                                   ☐                               ✔ None/Not Applicable
                                                                   ☐

 International Diamond Services,
                Inc.




                                      Additional pages attached
                         Case: 23-1217                          Document: 12   Page: 7   Filed: 12/28/2022



FORM 9. Certificate of Interest                                                                              Form 9 (p. 3)
                                                                                                                July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
                None/Not Applicable                                            Additional pages attached
   Adam R. Hess of Squire Patton
                 Boggs (US) LLP




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
                None/Not Applicable                                            Additional pages attached
    Case No. 4:20-cv-03973 US Synthetic Corporation v.
Zhengzhou New Asia Superhard Materials CompositeCo., Ltd.
  et al; US District Court for the Southern District of Texas




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔             None/Not Applicable                                            Additional pages attached
           Case: 23-1217    Document: 12    Page: 8    Filed: 12/28/2022




                        CERTIFICATE OF SERVICE

      I, Adam R. Hess, counsel for International Diamond Services, Inc. and a

member of the Bar of this Court, certify that, on December 28, 2022, a copy of the

attached Unopposed Motion for Leave to Intervene was filed electronically through

the appellate CM/ECF system with the Clerk of the Court. I further certify that all

counsel listed in the caption have been served via CM/ECF.

                                            /s/ Adam R. Hess
                                            Adam R. Hess




                                        5
              Case: 23-1217         Document: 12         Page: 9     Filed: 12/28/2022



FORM 19. Certificate of Compliance with Type-Volume Limitations                           Form 19
                                                                                         July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2023-1217

  Short Case Caption: US Synthetic Corporation v. ITC

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                               544
                and includes __________  words.

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                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        12/28/2022
  Date: _________________                       Signature:        /s/ Adam R. Hess

                                                Name:             Adam R. Hess
